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                      UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF PENNSYLVANIA

ANDRE O’BRIEN,                         :

                    Plaintiff          :   CIVIL ACTION NO. 3:18-1320

        v.                             :        (JUDGE MANNION)

WARDEN CLAIR DOLL, et al.,             :

                   Defendants          :


                                   ORDER

       In accordance with the Memorandum issued this date, IT IS HEREBY

ORDERED THAT:

       1. The above captioned action is DISMISSED pursuant to
          Fed.R.Civ.P. 41(b) for Plaintiff’s failure to prosecute and to
          comply with a Court Order.

       2. The Clerk of Court is directed to CLOSE this case.

       3. Any appeal will be deemed frivolous, lacking merit, and not
          taken in good faith. See 28 U.S.C. §1915(a)(3).



                                           s/ Malachy E. Mannion
                                           MALACHY E. MANNION
                                           United States District Judge
Dated: September 29, 2021
18-1320-01-ORDER
